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     GREAT AMERICAN INSURANCE
 6   COMPANY OF NEW YORK
 7
 8                                       UNITED STATES DISTRICT COURT
 9                                    NORTHERN DISTRICT OF CALIFORNIA
10   GREAT AMERICAN INSURANCE                 )           Case No.: 3:18-cv-02364
     COMPANY OF NEW YORK, a                   )
11   corporation;                             )           COMPLAINT FOR DAMAGE TO OCEAN
                                              )           CARGO
12               Plaintiff,                   )           ______________________________________
                                              )
13                                            )                 (Damages in the sum of $53,058.00)
           v.                                 )
14                                            )
                                              )
15   MEDITERRANEAN SHIPPING                   )
     COMPANY S.A., a foreign corporation; and )
16   MEDITERRANEAN SHIPPING                   )
     COMPANY (USA) INC., a corporation;       )
17                                            )
                 Defendants.                  )
18   ____________________________________)
19            Plaintiff’s complaint follows:
20            1.       Plaintiff GREAT AMERICAN INSURANCE COMPANY OF NEW YORK
21   (“GAICNY”), is now, and at all times herein material was, a corporation duly organized and
22   existing by virtue of law. GAICNY is a citizen of the state of New York and was the insurer of
23   the cargo that is the subject of this action.
24            2.       Plaintiff is informed and believes, and on the basis of that information and belief
25   alleges that, Defendants MEDITERRANEAN SHIPPING COMPANY S.A., a foreign
26   corporation, and MEDITERRANEAN SHIPPING COMPANY (USA) INC., a corporation
27   (hereafter collectively “MSC”), are now and at all times herein material were engaged in business
28   as common carriers for hire within the United States and within this judicial district.
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 1            3.       Plaintiff’s complaint contains a cause of action for damage to cargo arising under
 2   a statute of the United States, namely the Carriage of Goods by Sea Act, 46 U.S.C. § 30701 Note,
 3   and is therefore within the jurisdiction of this Court pursuant to 28 U.S.C. § 1331, as more fully
 4   appears herein. Additionally, the Court has admiralty jurisdiction pursuant to 28 U.S.C. § 1333.
 5   Venue is proper under 28 U.S.C. § 1391(b).
 6            4.       This is a cause of action for damage to ocean cargo, and is an admiralty and
 7   maritime claim within the meaning of Rule 9(h), Federal Rules of Civil Procedure, as hereinafter
 8   more fully appears.
 9            5.       Plaintiff is informed and believes, and on the basis of such information and belief
10   alleges that, on or about April 1, 2017, at Callo, Peru, Defendants, and each of them, received a
11   shipment of fresh grapes for carriage under bill of lading numbers MSCUP6010636,
12   MSCUL3996661, and others, issued by and/or on behalf of said Defendants. Defendants, and
13   each of them, agreed, under contracts of carriage and in return for good and valuable
14   consideration, to carry said cargo from Callo, Peru to Philadelphia, PA, and there deliver said
15   cargo to the lawful holder of the aforementioned bills of lading, and others, in the same good
16   order and condition as when received.
17            6.       Thereafter, in breach of and in violation of said agreements, Defendants, and each
18   of them did not deliver said cargo in the same good order and condition as when received at
19   Callo, Peru. To the contrary, Defendants, and each of them, delivered the cargo in a damaged
20   condition. As a result, the value of the cargo was depreciated in the amount of $53,058.00.
21            7.       Prior to the shipment of the herein described cargo and prior to any loss thereto,
22   plaintiff GAICNY issued its policy of insurance whereby plaintiff GAICNY agreed to indemnify
23   the owner of the cargo and its assigns, against loss of or damage to said cargo while in transit,
24   including mitigation expenses, and plaintiff GAICNY has therefore become obligated to pay, and
25   has paid to the person entitled to payment under said policy the sum of $53,058.00, on account of
26   the herein described loss.
27            8.       Plaintiff has therefore been damaged in the sum of $53,058.00, or another amount
28   according to proof at trial, no part of which has been paid, despite demand therefor.
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 1            WHEREFORE, plaintiff prays that this Court enter judgment in its favor and against
 2   defendants; that this Court decree payment by defendants, to plaintiff in the sum of $53,058.00,
 3   together with prejudgment interest thereon and costs of suit herein; and that plaintiff have such
 4   other and further relief as in law and justice it may be entitled to receive.
 5
 6                                                   Respectfully submitted,
 7   Dated: April 19, 2018                           GIBSON ROBB & LINDH LLP
 8
                                                     /s/ JOSHUA E. KIRSCH
 9                                                   Joshua E. Kirsch
                                                     Attorneys for Plaintiff
10                                                   GREAT AMERICAN INSURANCE
                                                     COMPANY OF NEW YORK
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